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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                  Plaintiff,

          v.                                         Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                  Defendant.


                               ORDER GRANTING
               MOTION FOR ADMISSION OF AARON T. CHIU PRO HAC VICE

       The Court has reviewed Apple Inc.’s motion for admission pro hac vice.            Upon

consideration of that motion, the Court grants attorney Aaron T. Chiu pro hac vice admission to

this Court.

       IT IS SO ORDERED.



 Dated:
                                                             Amit P. Mehta
                                                       United States District Judge
